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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA




 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                     )       Civil Action No. 5:22-cv-05055-JFM
                                                      )
                        v.                            )
                                                      )
INHANCE TECHNOLOGIES LLC,                             )
                                                      )
                        Defendant.                    )
                                                      )
                                                      )



                                              ORDER
      AND NOW, this 26th day of April 2023, upon consideration of the April 24, 2023

Unopposed Motion of Public Employees for Environmental Responsibility, Center for

Environmental Health and Jay De La Rosa to Intervene as of Right under Federal Rule of Civil

Procedure 24(a)(1), it is hereby ORDERED that the motion is GRANTED. The intervenor-

plaintiffs shall forthwith file their intervenor-plaintiff Complaint in the docket of this case.



                                                           BY THE COURT:




                                                           HONORABLE JOHN F. MURPHY
                                                           United States District Judge
